          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:09CR26


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )           ORDER
                                          )
                                          )
ANGELA MARIA OXENDINE                     )
                                          )


      THIS MATTER is before the Court on Defendant’s appeal of the

Magistrate Judge’s Order of Detention. See Order of Detention, filed

June 9, 2009. For the reasons that follow, the Order is affirmed.



                             I. BACKGROUND

      On April 7, 2009, Defendant and 13 co-Defendants were charged

with conspiracy to possess with intent to distribute more than 50 grams of

cocaine base in violation of 21 U.S.C. §§ 841(a)(1) and 846 and knowingly

using a communication facility in committing the drug violations, in violation

of 18 U.S.C. § 843(b). Indictment, filed April 7, 2009, at 1-2. On May

28, 2009, Defendant entered into a plea agreement with the Government




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wherein she agreed to plead guilty to Count One (the drug conspiracy

charge) in exchange for the dismissal of the other charge by the

Government. On June 5, 2009, the Defendant appeared with counsel and

formally entered her guilty plea. See Rule 11 Inquiry and Order of

Acceptance of Plea, filed June 5, 2009. A detention hearing followed.

The Magistrate Judge applied the mandatory provisions of § 3143, and

entered an order revoking the conditions of pretrial release and ordered

Defendant detained pending sentencing. Order, filed June 9, 2009. This

appeal follows.



                              II. DISCUSSION

     The Mandatory Detention Act of 1990 requires that defendants found

guilty of certain categories of offenses involving controlled substances be

detained pending sentencing.1 There are three exceptions to this

mandatory detention. See 18 U.S.C. § 3143(a)(2); United States v.

Goforth, 546 F.3d 712, 713-14 (4th Cir. 2008). Defendant contends that

release is appropriate under 18 U.S.C. § 3145(c). Notice of Appeal of


     1
        No party disputes that Defendant’s plea of guilty to Count One of
the indictment triggers mandatory detention unless the requirements of §
3145(c) are satisfied.


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Detention Order, filed June 7, 2009, at 2. This section provides that a

“person subject to detention pursuant to section 3143(a)(2) or (b)(2), and

who meets the conditions of release set forth in section 3143(a)(1) or

(b)(1), may be ordered released, under appropriate conditions, by the

judicial officer, if it is clearly shown that there are exceptional reasons why

such person’s detention would not be appropriate.” 18 U.S.C. § 3145(c).

      Defendant offers a host of reasons she contends support a finding of

“exceptional reasons.” See Notice of Appeal, supra, at 2-3. Defendant

has no criminal history, with the exception of her guilty plea in this case,

and argues she is gainfully employed and helps support her family.

Defendant has been cooperative with the Government during its

investigation and compliant with all of the terms of pretrial release.

Defendant also cites an imminent family reunion as grounds for release.

Finally, Defendant argues that it might be possible that no active

imprisonment will be imposed and that she might qualify for a probationary

sentence.

      Courts considering the meaning of “exceptional reasons” have

generally concluded that a defendant must present circumstances that are

“clearly out of the ordinary, uncommon or rare.” United States v. Larue,



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478 F.3d 924, 926 (8th Cir. 2007) (rejecting defendant’s argument that

complying with pretrial release terms, a lack of criminal history, child

support obligations, and continued employment represent

exceptional reasons); see also United States v. Lea, 360 F.3d 401, 403

(2d Cir. 2004) (“Exceptional circumstances exist where there is ‘a

unique combination of circumstances giving rise to situations that

are out of the ordinary.’” (quoting United States v. DiSomma, 951 F.2d

494, 497 (2d Cir. 1991)).

     After considering Defendant’s arguments and the relevant case law,

the Court concludes Defendant has offered insufficient evidence to support

her release under § 3145(c). In short, Defendant’s reasons are the same

reasons any defendant might advance to escape detention after pleading

guilty to an offense involving mandatory detention and thus such reasons

are not “exceptional.”



                               III. ORDER

     IT IS, THEREFORE, ORDERED that Defendant’s appeal of the

Order of Detention is DENIED, and the Magistrate Judge’s Order of

Detention is AFFIRMED.



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                                Signed: June 16, 2009




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